           Case 2:08-cr-00030-GEB Document 15 Filed 04/25/08 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MICHAEL MASON MEGILL
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )
11                                      )   NO. CR.08-0030-GEB
                     Plaintiff,         )
12                                      )
          v.                            )   STIPULATION TO CONTINUE STATUS
13                                      )   CONFERENCE; ORDER ON EXCLUSION OF
                                        )   TIME
14                                      )
     MICHAEL MASON MEGILL and           )   Date: May 9, 2008
15   JEREMY ROSS MEGILL,                )   Time: 9:00 a.m.
                                            Judge: Hon. Garland E. Burrell, Jr.
16                  Defendants.
     _____________________________
17
          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, SEAN FLYNN, Assistant United States Attorney,
19
     attorney for Plaintiff, and RACHELLE BARBOUR, Assistant Federal
20
     Defender, attorney for Defendant Michael Mason Megill, and CHRISTOPHER
21
     HAYDN-MYER, attorney for Defendant Jeremy Ross Megill, that the status
22
     conference previously set for April 25, 2008 be continued to May 9,
23
     2008 at 9:00 a.m.
24
           This continuance is being requested because both defense counsel
25
     needs additional time to prepare, to review discovery, and to interview
26
     witnesses.   The parties have received plea offers from the government
27
     and need additional time to discuss the plea offers and continue plea
28
              Case 2:08-cr-00030-GEB Document 15 Filed 04/25/08 Page 2 of 2


 1   negotiations.
 2        Speedy trial time is to be excluded from the date of this order
 3   through the date of the status conference set for May 9, 2008 pursuant
 4   to 18 U.S.C. §§ 3161 (h)(8)(B)(iv) [reasonable time to prepare] (Local

 5   Code T4).

 6                                                   Respectfully submitted,
                                                     DANIEL J. BRODERICK
 7                                                   Federal Defender

 8   DATED:       April 22, 2008                     /s/ RACHELLE BARBOUR
                                                     RACHELLE BARBOUR
 9                                                   Assistant Federal Defender
                                                     Attorney for Defendant
10                                                   Michael Mason Megill

11   DATED:    April 22, 2008                        /s/ RACHELLE BARBOUR
                                                     CHRISTOPHER HAYDN-MYER
12                                                   Attorney for Defendant
                                                     Jeremy Ross Megill
13
                                                     McGREGOR SCOTT
14                                                   United States Attorney

15   DATED: April 22, 2008                          /s/ RACHELLE BARBOUR for
                                                    SEAN FLYNN
16                                                  Assistant U.S. Attorney
                                                    Attorney for Plaintiff
17
18                                        O R D E R

19        IT IS SO ORDERED. The previously set status conference is

20   continued to May 9, 2008.        Time is excluded in the interests of justice

21   pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.

22   Dated:    April 25, 2008
23
24                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
25
26
27
28


                                               2
